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                     Exhibit 33
4/20/22, 8:26 PM                              Case 2:21-cv-00316 Document 289-34
                                                                        Mountain Hollar Filed   04/21/22
                                                                                        MS Invitational - ResultsPage
                                                                                                                 - Cross 2 of 3 Meet
                                                                                                                         Country PageID #: 13809


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                                                                                                                                                    Team Results Management

  Mountain Hollar MS Invitational MS                                                                                                          72 Followers   Sign In to Follow
   OFFICIAL  Thu, Sep 2, 2021                                University High School



        Womens 3,200 Meters Junior Varsity
    All Grades            All Teams         All Divisions           Other Filters    Highlighter


    Team Spread                                                                                                                                                            
    06:00
               Spread between runners on each te…

    04:00




    02:00




    00:00


      First Athlete           1             Last Athlete           5


      Official Team Scores                                                                                                                                                
   1. Suncrest                                                                                                                                                              29
   2. South (Morgantown)                                                                                                                                                    39
   3. Mountaineer (Morgantown)                                                                                                                                              78
   4. Bridgeport                                                                                                                                                            99
   1. 8 Stella Bleech                 15:54.3 South (Morgantown)
   2. 8 Chloe Sickles                 16:00.4 South (Morgantown)
   3. 6 Emma Zhou                     16:12.8 Suncrest
   4. 7 Janie Gilchrest               16:14.5 Suncrest
   5. 8 Mia McCutcheon                16:19.7 Suncrest
   6. 7 Linsey Kramer                 16:41.3 East Fairmont
   7. 8 Maliah Dalton                 16:41.8 South (Morgantown)
   8. 7 Maddie Fritsch                16:48.6 Mountaineer (Morgantown)
   9. 6 JJ Monroy                     16:53.8 Suncrest
   10. 7 Paige Snyder                 16:55.4 East Fairmont
   11. 7 Olivia Lupo                  17:00.9 Suncrest
   12. 6 Chelsea Payne                17:02.9 Braxton County
   13. 7 Graylee Linville             17:09.8 Bridgeport
   14. 7 Lauren Krantz                17:10.6 Suncrest
   15. 7 Elizabeth Esposito           17:11.9 Suncrest
   16. 7 Ayla McCasi                  17:13.9 South (Morgantown)
   17. 7 Kylie Cline                  17:20.7 Covenant Christian
   18. 8 Miley Dong                   17:21.8 Suncrest
   19. 8 Adrienne Reger               17:25.3 Mountaineer (Morgantown)
   20. 7 Grayson Martucci             17:27.8 Suncrest
   21. 6 Anna Houde                   17:32.8 Suncrest
   22. 6 Emma Kniceley-See            17:34.4 Bridgeport
   23. 6 Kelea Anderson               17:38.3 Suncrest
   24. 6 Maria Strager                17:41.9 Mountaineer (Morgantown)
   25. 7 A. Monroe                    17:49.4 Suncrest
   26. 8 Allie Myers                  17:49.6 Suncrest
   27. 8 Brynn Lewis                  18:01.1 Suncrest
   28. 8 Emily McDonald               18:12.6 South (Morgantown)
   29. 8 Samantha Zizzi               18:16.1 South (Morgantown)
   30. 6 Arianna Howell               18:17.7 South (Morgantown)
   31. 8 Anna McBee                   18:25.3 Mountaineer (Morgantown)
   32. 6 Maggie Bailey                18:30.3 Suncrest
   33. 8 Avery Dickerson              18:33.8 South (Morgantown)
   34. 6 Elaina Beard                 18:42.9 South (Morgantown)
   35. 8 Nataline Wolfe               18:54.2 Mountaineer (Morgantown)
   36. 6 Braydan Whitesel             18:59.8 Braxton County
   37. 8 Maya Ramsey-Murry            19:06.3 Suncrest
   38. 7 Hannah Staley                19:28.2 Suncrest
   39. 6 Emily Liu                    19:53.9 Suncrest
   40. 7 Maria Abelsayed              20:00.9 Suncrest


https://www.athletic.net/CrossCountry/meet/193551/results/780092                                                                                                                 1/2
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                                                                                      MS Invitational - ResultsPage
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                                                                                                                       Country PageID #: 13810
   41. 7 Zuzanna Michalski         20:14.3 Mountaineer (Morgantown)
   42. 7 Addison Berg              20:28.6 Covenant Christian
   43. 8 Payton Janssen            20:43.7 Bridgeport
   44. 6 Rylee Lemley              20:52.8 Mountaineer (Morgantown)
   45. 6 Sara Minchau              20:54.5 Mountaineer (Morgantown)
   46. 0 Brigid Wilson             20:56.9 Suncrest
   47. 7 Ashlyn Poach              21:42.5 St. Francis Central Catholic
   48. 6 Margaret (Maggie) Cable 21:46.1 Bridgeport
   49. 6 Claire Jones              22:02.3 South (Morgantown)
   50. 6 Alden Owen                22:24.4 St. Francis Central Catholic
   51. 6 Becky Pepper-Jackson      22:33.9 Bridgeport
   52. 8 Faith Noss                22:42.7 Central Preston
   53. 7 Caitlin Murray            22:55.7 Bridgeport
   54. 7 Alexis Thomas             22:55.9 South (Morgantown)
   55. 7 Elsa Meyer                23:48.1 Suncrest
   56. 8 Shea Lingo                23:52.8 Suncrest
   57. 8 Macy Giles                24:12.1 South (Morgantown)
   58. 7 Lilah Allison             24:23.5 Suncrest
   59. 6 Peyton Ice                24:34.7 East Fairmont
   60. 7 Elizaveta Abbitt          24:51.2 St. Francis Central Catholic
   61. 8 Keirston Pugh             24:55.9 Bridgeport
   62. 7 Olivia Markley            25:03.8 East Fairmont
   63. 7 Baylee Yost               25:29.2 Suncrest
   64. 7 Amelia Fisher             26:47.8 Mountaineer (Morgantown)
   65. 6 Emma Sherwin              26:50.2 Mountaineer (Morgantown)
   66. 6 Havanna Davis             30:26.8 Suncrest




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